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UNITED STATES BANKRUPTCY COURT
DISTRICT OF SOUTH DAKOTA

In re: ) Bankr. No. 05-30027
) Chapter 11

SI TANKA UNIVERSITY )

Tax I.D. XX-XXXXXXX ) ORDER DISMISSING CASE
)

Debtor

The matter before the Court is the Motion to Dismiss or
Convert to Chapter 7 Proceeding filed by the United States Trustee;
the joinder in the Motion filed by the United States’ Departments
of Education, Agriculture and Treasury; and the objections to the
Motion filed pro se by Rocco Murano, Kristine Harms, Rodney L.
Mittelstedt, Jeanne Sager, Muriel Vivian High Elk, GJ Antoine,
Linda Schacht, Lindsay Johnson, Shawn Kelley, Duane Roy, Kayleen
McKinney, Les McKinney, and Davender Hooda. A hearing was held
February 8, 2006. Appearances included Assistant United States
Trustee Bruce J. Gering, Assistant United States Attorney Stephanie
C. Bengford for the United States, and Clair R. Gerry for Debtor.

Upon consideration of the record before the Court and the
testimony and exhibits presented, and in recognition of and
compliance with the findings and conclusions entered on the record,

IT IS HEREBY ORDERED that the Motion to Dismiss or Convert to
Chapter 7 Proceeding is granted and the case is DISMISSED.

So ordered: February 8, 2006

BY THE COURT:

    

Irvin N@ Hoyt
Bankruptcy Judge

NOTICE OF ENTRY

Under Fed.R.Bankr.P. 9022(a)

This order/judgment was entered

on the date shown above.

Charles L. Nail, Jr.
Clerk, U.S. Bankruptcy Court
District of South Dakota
